Case 3:17-cv-00072-NKM-JCH Document 1196 Filed 10/12/21 Page 1 of 5 Pageid#: 20106




                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division



    ELIZABETH SINES, et al.,


                                   Plaintiffs,
                                                          Civil Action No. 3:17-cv-00072-NKM

    v.                                                    JURY TRIAL DEMANDED

    JASON KESSLER, et al.,

                                   Defendants.


       PLAINTIFFS’ OPPOSITION TO DEFENDANT CANTWELL’S SECOND AND
      EMERGENCY MOTION TO EXTEND ALL TRIAL AND PRETRIAL SCHEDULE
            DATES BY TWELVE MONTHS AND TO REOPEN DISCOVERY

          Plaintiffs respond to Defendant Christopher Cantwell’s Second and Emergency Motion to

   Extend All Trial and Pretrial Schedule Dates by Twelve Months and to Reopen Discovery (ECF

   No. 1162).

          Plaintiffs have already addressed Cantwell’s multiple requests (ECF Nos. 1099 and 1110)

   to delay this trial twice in the last month. See ECF No. 1108, 1113. On, February 3, 2021, more

   than nine months ago, the Court scheduled trial to begin on October 25, 2021. ECF No. 924. Since

   then, and as previously noted, the Court has devoted numerous conferences to scheduling and trial

   logistics and issued multiple orders arranging for trial procedures, and a huge number of parties,

   lawyers, support staff, and witnesses have made significant scheduling and logistical arrangements

   to attend trial on the date ordered by the Court. See ECF No. 1108. Indeed, Cantwell has already

   been transported to trial by the Marshals Service. See ECF No. 1181.




                                                 -1-
Case 3:17-cv-00072-NKM-JCH Document 1196 Filed 10/12/21 Page 2 of 5 Pageid#: 20107




          Plaintiffs are also responding or have already responded to the numerous motions Cantwell

   has filed regarding discovery, admission and exclusion of evidence, witnesses and argument, and

   many other matters pertaining to trial, none of which are meritorious. The Court should not permit

   Cantwell’s untimely and baseless motions, evidentiary objections, or continuance requests made

   on the eve of trial to further delay this case, which has been pending for more than four years.

   Plaintiffs strongly oppose any continuation of the October 25, 2021 trial date.



   Dated: October 12, 2021                              Respectfully submitted,

                                                        /s/ David E. Mills
                                                        David E. Mills (pro hac vice)
                                                        Joshua M. Siegel (VSB 73416)
                                                        Caitlin B. Munley (pro hac vice)
                                                        Samantha A Strauss (pro hac vice)
                                                        Alexandra Eber (pro hac vice)
                                                        COOLEY LLP
                                                        1299 Pennsylvania Avenue, NW
                                                        Suite 700
                                                        Washington, DC 20004
                                                        Telephone: (202) 842-7800
                                                        Fax: (202) 842-7899
                                                        dmills@cooley.com
                                                        jsiegel@cooley.com
                                                        cmunley@cooley.com
                                                        sastrauss@cooley.com
                                                        aeber@cooley.com




                                                  -2-
Case 3:17-cv-00072-NKM-JCH Document 1196 Filed 10/12/21 Page 3 of 5 Pageid#: 20108




   Of Counsel:

    Roberta A. Kaplan (pro hac vice)           Karen L. Dunn (pro hac vice)
    Julie E. Fink (pro hac vice)               William A. Isaacson (pro hac vice)
    Gabrielle E. Tenzer (pro hac vice)         Jessica E. Phillips (pro hac vice)
    Joshua A. Matz (pro hac vice)              Arpine S. Lawyer (pro hac vice)
    Michael L. Bloch (pro hac vice)            Giovanni J Sanchez (pro hac vice)
    Emily C. Cole (pro hac vice)               Agbeko C. Petty (pro hac vice)
    Alexandra K. Conlon (pro hac vice)         PAUL WEISS RIFKIND WHARTON &
    Jonathan R. Kay (pro hac vice)             GARRISON LLP
    Benjamin D. White (pro hac vice)           2001 K Street, NW
    Yotam Barkai (pro hac vice)                Washington, DC 20006-1047
    KAPLAN HECKER & FINK, LLP                  Telephone: (202) 223-7300
    350 Fifth Avenue, Suite 7110               Fax: (202) 223-7420
    New York, NY 10118                         kdunn@paulweiss.com
    Telephone: (212) 763-0883                  wisaacson@paulweiss.com
    rkaplan@kaplanhecker.com                   jphillips@paulweiss.com
    jfink@kaplanhecker.com                     alawyer@paulweiss.com
    gtenzer@kaplanhecker.com                   gsanchez@paulweiss.com
    jmatz@kaplanhecker.com                     apetty@paulweiss.com
    mbloch@kaplanhecker.com
    ecole@kaplanhecker.com                     Makiko Hiromi (pro hac vice)
    aconlon@kaplanhecker.com                   Nicholas A. Butto (pro hac vice)
    jkay@kaplanhecker.com                      PAUL WEISS RIFKIND WHARTON &
    bwhite@kaplanhecker.com                    GARRISON LLP
    ybarkai@kaplanhecker.com                   1285 Avenue of the Americas
                                               New York, NY 10019-6064
    Alan Levine (pro hac vice)                 Telephone: (212) 373-3000
    Daniel P. Roy III (pro hac vice)           Fax: (212) 757-3990
    Amanda L. Liverzani (pro hac vice)         mhiromi@paulweiss.com
    COOLEY LLP                                 nbutto@paulweiss.com
    55 Hudson Yards
    New York, NY 10001                         Katherine M. Cheng (pro hac vice)
    Telephone: (212) 479-6260                  BOIES SCHILLER FLEXNER LLP
    Fax: (212) 479-6275                        55 Hudson Yards, 20th Floor
    alevine@cooley.com                         New York, NY 10001
    droy@cooley.com                            Telephone: (212) 446-2300
    aliverzani@cooley.com                      Fax: (212) 446-2350
                                               kcheng@bsfllp.com
    J. Benjamin Rottenborn (VSB No. 84796)
    Woods Rogers PLC                           Robert T. Cahill (VSB 38562)
    10 South Jefferson Street, Suite 1400      COOLEY LLP
    Roanoke, Va. 24011                         11951 Freedom Drive, 14th Floor
    Tel: (540) 983-7600                        Reston, VA 20190-5656
    Fax: (540) 983-7711                        Telephone: (703) 456-8000
    brottenborn@woodsrogers.com                Fax: (703) 456-8100
                                               rcahill@cooley.com


                                               Counsel for Plaintiffs



                                             -3-
Case 3:17-cv-00072-NKM-JCH Document 1196 Filed 10/12/21 Page 4 of 5 Pageid#: 20109




                                        CERTIFICATE OF SERVICE

          I hereby certify that on October 12, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

    Justin Saunders Gravatt                                 Bryan Jones
    David L. Hauck                                          106 W. South St., Suite 211
    David L. Campbell                                       Charlottesville, VA 22902
    Duane, Hauck, Davis & Gravatt, P.C.                     bryan@bjoneslegal.com
    100 West Franklin Street, Suite 100
    Richmond, VA 23220                                      Counsel for Defendants Michael Hill,
    jgravatt@dhdglaw.com                                    Michael Tubbs, and League of the South
    dhauck@dhdglaw.com
    dcampbell@dhdglaw.com                                   James E. Kolenich
                                                            Kolenich Law Office
    Counsel for Defendant James A. Fields, Jr.              9435 Waterstone Blvd. #140
                                                            Cincinnati, OH 45249
    W. Edward ReBrook                                       jek318@gmail.com
    The ReBrook Law Office
    6013 Clerkenwell Court                                  Elmer Woodard
    Burke, VA 22015                                         5661 US Hwy 29
    edward@rebrooklaw.com                                   Blairs, VA 24527
    rebrooklaw@gmail.com                                    isuecrooks@comcast net

    Counsel for Defendants National Socialist Movement,     Counsel for Defendants Jason Kessler, Nathan
    Nationalist Front, Jeff Schoep, Matthew Heimbach,       Damigo, and Identity Europa, Inc. (Identity Evropa)
    Matthew Parrott and Traditionalist Worker Party

    Joshua Smith Esq.
    Smith LLC
    807 Crane Ave.
    Pittsburgh, PA 15216
    joshsmith2020@gmail.com

    Counsel for Matthew Heimbach, Matthew Parrott and
    Traditionalist Worker Party

          I hereby certify that on October 12, 2021, I also served the foregoing upon following pro
   se defendants, via electronic mail, as follows:

    Richard Spencer                                         Vanguard America
    richardbspencer@gmail.com                               c/o Dillon Hopper
    richardbspencer@icloud.com                              dillon_hopper@protonmail.com

    Robert Ray                                              Elliott Kline
    azzmador@gmail.com                                      eli.f mosley@gmail.com
                                                            deplorabletruth@gmail.com
                                                            eli.r kline@gmail.com




                                                          -4-
Case 3:17-cv-00072-NKM-JCH Document 1196 Filed 10/12/21 Page 5 of 5 Pageid#: 20110




          I hereby certify that on October 12, 2021, I also served the foregoing upon following pro
   se defendant, via U.S. mail, as follows:

   Christopher Cantwell
   Christopher Cantwell 00991-509
   USP Marion
   U.S. Penitentiary
   P.O. Box 2000
   Marion, IL 62959

   and

   Christopher Cantwell
   Christopher Cantwell - Inmate: 00991-509
   Grady County Law Enforcement Center (Oklahoma)
   215 N. 3rd Street
   Chickasha, OK 73018


                                                          /s/ David E. Mills
                                                          David E. Mills (pro hac vice)




                                                    -5-
